Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 1 of 54

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/0

NOTICE OF REAL PROPERTY ASSESSMENT FOR 1955

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Dated March 15, 1955 -
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BY TAX ASSESSOR
First Taxation Division

 

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NOTICE OF REAL PROPERTY HEAR
BOARD OF REVIEW
FIRST TAXATION DIVISION

 

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You are hereby notified that the Board of Review will meet to hear your appeal

4 on the assessed valuation of the property

described hereon;

Territorial Tex Office
Queen and Panchbow! Streets

Date of Hearing _ Sf ARES
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Place

 

 

Time of Hearing

Dated
A. H. LANDGRAF, JR:
Assessor, First Taxation Division
Honolulu, Howoil

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TAX_ASSESSOR

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Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 7 of 54

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Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07, Page 20 of 54

 

fu: Br. FPewl J, Thorsten

Directer, Bureau of the Budget

  
 

RE: Claim of

 

In &eoordance with pour request for 2 report retstive to the
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OL, fax Key 3-9-01-1. *

 
    
  

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In accordance with the above, 1 hereby recon

 

 

to the Legislature that the above claim in the sum of $ 175,232

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"6-8 4 - Case 1:06-cv-008289MBH Document 9-1 Filed 02/22/07) Page 21 of 54

@ MEMORANDUM

      
 
 

  

S TO: Palmyra. Atoll file
cc: Kelvin Taketa, Bete Robert Smith, John Ford, Georgia Shirilla
FROME Jim Maragos (¥

DATE: August 19, 1991
SUBJECT: Minutes of 7/26/91 meeting on Palmyra Atoll held at TNC CRAFT)

 

i, Representatives of The Nature Conservancy, Peter Savio Realty, U.S. Fish and
‘Wildlife Service, and M & E Pacific met at 1300-1500 hours on 26 July 1991 at
the Smith Street office to discuss proposed development and conservation plans for
Palmyra Atoll. An attendance sheet is attached.

 

2, Peter Savio reviewed the TNC letter of 17 June 1991 and offered the following
comments on behalf of his firm and the owners. He also sought clarification on
some of the language in the letter,

A, The owners are nervous about collaborating with the federal government due
to previous musfortunes. However, they support the development concept and
do not object to USFWS/TNC involvement as long as Savio Development is
involved and active. The owners do not favor a large scale development.

B. If Savio pulls out of the project, then the owners would not want
USFPWS/TNC as partner for further attempts at development and
conservation. The owners are concermed that the federal government may try
to condemn the atoll once the feds have a foothold.

Cc. The owners are also concerned that the feds will renege on an agreement to
allow for development of Cooper Island.

D. Thus, Savio suggested a “buy out" option where TNC would be reimbursed,
say $500,000, to relinquish interest and compensate for commitment of
resources for the Palmyra project.

. a,

E, Savio is open to other suggestions on resolving the owners objections.

3, Savio also reviewed the status of the project planning and provided copies of
preliminary planning documents prepared by M & E. He did not agree with the
concept as illustrated in the M & E report because too much space was taken up
for housing and the plan for Cooper Island lacked a rural 19th century character as
desired by Savio. He also wants to keep. the atoll "interesting" for visitors.
Quality, not quantity (number of units) is the goal. .

4, Savio’s arrangement with the owners is a 75. year lease with an option to buy

within the first 5 years (4 years left). The owners also retain an “escape” clause
which remains in effect for 3 years (2 years left). The owners would no longer be
involved after Savio buys the atoll.

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Case 1:06-cv-008284;MBH Document 9-1 Filed “ée Page 22 of 54

- Both the owners and Savio envision Cooper Island being used for

residential/vacation development (NTE 3 stories) with the remainder of the atoll
designated as a reserve or park except for Sand Island, a small portion of Home
Island, and navigation areas and anchorages in the west lagoon.. Heirs of Judge

Henry Cooper may have tijle to the parcels on Home Island and Savio intends to SY --
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Savio doesn’t want to run the park or reserve. He would like to see TNC/USFWS
operate the park and he intends to raise or earmark the funds to support long-range
management.

The big issue is Savio’s mind is who controls what since two separate land
"managers" will be operating jointly on the atoll. A balance needs to be achieved
where one party does not have an unreasonable amount of control over the other.

Savio intends to seil 250+ lots for $250,000 each (approximately) to raise the funds
to restore/establish infrastructure and buy the atoll from the owners.

Savio mentioned that the owners believe they control all reefs and the territorial
seas off Palmyra Atoll and they also claim Kingman Reef, the next atoll to the
northwest. The owners may be interested in dedicating Kingmdn Reef for

conservation, The, reef hag little gr no dry land and is not suitable for development.
parla ub der did purpaie :

Savio intends to establish rulés appficable to’the fature owners during the lease
period for both ocean and land areas at Palmyra,

Proposed infrastructure improvements include restoring and paving the overgrown
runway to accommodate Aloha Airline sized jet traffic. Savio cited an optimum
load for each jet plane at about 120 passengers. Aloha is willing to fly to Palmyra
once the runway is restored.

In working with TNC/USFWS, Savio would like.to develop a plan to insure that
Cooper Island development is cémpatible with the rest of the atoll as a reserve, and
that compatible uses of the reserve by residents and authorized visitors be identified
and agreed upon. The reserve and the atoll’s natural resources will attract most
visitor/buyers, —

USFWS mentioned the threat of air strikes (collisions between birds and planes) if
high levels of nesting continue on Cooper’s runway. Savio would like to restore
the old fighter strips in the south lagoon as prime nesting habitat for birds,
consistent with previous high level use by nesting seabirds before the fighter islands
were overgrown with vegetation.

USFWS pointed out that significant bird populations also occur elsewhere on Cooper
Island. Maragos noted high population levels of nesting red-footed Boobies on trees
lining the shoreline and large populations of black noddies in the crowns of coconut

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Case 1:06-cv-00828.MBH Document 9-1 Filed 02/2g/07,) Page 23 of 54

trees and other € trees. Sea turtle nesting on the nortnwest beach of Cooper

. Island was also acknowledged. Smaller nesting colonies of sooty terns may occupy

some of the flat lagoon-facing lands south of the runway. Savio/M & E have
already identified a proposed reserve area that corresponds to the turtle nesting sites.

Savio noted that the jet runway will need to be paved and he prefers concrete over
asphalt because long-term maintenance will be less costly. Clearing of the main
runway has attracted birds (ground nesters).

Kelvin Taketa envisioned a single conservation easement with two paris, one
controlled by Savio and the other by TNC/USFWS. Stewardship zones and
guidelines (for public use) need to be set up. Enforcement of guidelines or
regulations is also an issue: who will do it? How? Savio mentioned that
pets/alien species would be banned from the atoll. In any Case, one agreement
needs to be drawn up with clear obligations articulated for both parties.

Savio passed on other perceptions by the owners. The TNC letter appears to grant
TNC power to rule from the top. They wan to explore an alternative hierarchy if
Savio’s development fails. The worst case scenario in the owners mind is that
USFWS is part “owner” and then goes after the rest once Savio is out.
Condemnation is a dirty word to the owners.

Kelvin Taketa acknowledged the risks to be taken by the owners and Savio
indicated the need to seek permission fom the owners to implement a plan as
envisioned by TNC.

Savio indicated that the sales price for the atoll is $36 million. The owners are
willing to reduce the cost to $33 million if USFWS is willing to buy. Working a
deal with Savio and the owners may be a much cheaper way for TNC and the
USFWS to establish strong conservation programs on the atoll.

, Savio believes that Ccoper Island offers the development potential, and it makes

good economic sense to develop only Cooper Island. Somewhere between 200-300
single family lots are proposed with 2-3 bungalow hotels, one village center on the
ocean side of Cooper, excluding Strawn Point. The lots would be priced at $200 -
250K each. The maximum or “design” population on the atoll at any one time is
estimated at 800.

It is not clear at this stage what federal approvals are needed. The sewage
treatment plant and outfall will probably involve permits or approvals from the
Corps of Engineers and U.S. EPA. Hawaii’s statehood act specifically excludes
Palmyra, and a presidential executive order signed by John Kennedy gives DOI
administrative jurisdiction over the atoll. .

Kelvin raised several issues and topics for further discussion and eventual
agreement:

FLF 000412
, Case 1:06-cv-00828.MBH Document 9-1 Filed “é } Page 24 of 54

sano people, goods, within the island
Energy .

Waste Management: liquid, solid

Location for development

Types of uses

23. Savio indicated that people transportation would be primarily by boat and planes.
Within the atoll, there would be a few hauling vehicles, but most transportation
would be by foot or bicycle. Cars would not be allowed. -

24, M & E Pacific is designing the power and wastewater systems. Injection wells,
cesspools, or septic tanks are not feasible because of low elevation and nearness of
groundwater to the ground surface. They are proposing a sequencing batching plant
achieving secondary treatment quality. The sewage would then be conveyed by
outfall to the deep ocean, most likely off the south side of the atoll near Engineer
‘Island. M & & believes prevailing currents set to the west, but Maragos noted that
the equatorial counter current runs east. Clearly there is a need to determine which
direction prevailing currents run. The plant would be designed to accommodate
1,200 people. M & E mentioned the success of a Japanese engineered sewage
treatment plant off the Hamakua coast after which the Palmyra STP would be
patterned.

25. Savio proposed setbacks off the shoreline to insure there is aGequate buffering of
structures against waves, storm surges and other natural hazards. Savio welcomed
any ideas and brainstorming on facilities design and siting.

26. In wrapping up the meeting, Jim Maragos identified five areas for future discussion
and analysis and asked the group to designate participants and leaders to address
these in more detail:

a) timing issue/buyout options (Kelvin, Robert, Suzanne, Peter and Edward)
,0) uses on Cooper Isldnd that would be compatible with the function and operation
‘of the proposed refuge (John Engbring - lead) oO
c) acceptable uses on the refuge’areas (reefs, lagoon, and islands) and access by
visitors and residents of Cooper (Ken McDermott - lead)
d) assessment infrastructure impacts, mitigation, and development options (all
. participants, starting with the review of the M & E July 1991 report, copies were
provided to USFWS and TNC; Jim will collate)
e) scheduling and scoping of field work (deferred).

27. The group felt that the other issues needéd to be explored more fully before
proceeding with field work. Certainly aerial photography could be flown initially to
assist in all subsequent phases of planning, analysis and design. The biggest issue
of course.is how the timing of the agreement would be structured (item "a" above).
The buy-out option proposed by Savio should be seriously considered. Transfer of
Kingman Reef by the owners to the USFWS could also serve as compensation or
mitigation for other impacts, and the USFWS is keenly interested in Kingman.

   

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Case 1:06-cv-00828-MBH Document 9-1 Filed "> Page 25 of 54

-The group agreed to finish the above analyses within one month and then convene
' follow-up meetings. Ultimately, the exercise would lead to a clear understanding by

each party of what the other side requires and can live with in terms of future
development and use of the atoll. This could then lead to a written agreement
enabling the effort to proceed to the next step.

The draft minutes were recorded and compiled by J.E. Maragos, Director,
Conservation Science, The Nature Conservancy, Pacific Regional Office, Phone:
537-4508; fax: 545-2019. Please phone/fax any corrections to the draft of the
minutes by 31 August so they can be finalized and sent out to all parties.

Attendance Sheet:

Anne Ulaszewski (M & E Pacific, Inc.) 521-3051

Jim Maragos (TNC Pacific) 537-4508

John Engbring (USFWS) 541-2749

Peter Savio (Savio Realty) 942-7791

Suzanne Case (TNC, Regional Counsel) (415)777-0487
Robert P. Smith (USFWS) 541-2749

Dail Rhee (M & E Pacific) 521-3051

Andrew Yuen (USFWS) 541-2749

Georgia Shirilla (USFWS) (503)231-2236

Kelvin Taketa (TNC, Regional Director) 537-4508

Beth Flint (USFWS) 541-1201

Jerry Leinecke (USFWS) 541-1201

Edward R. Brooks (Foley, Maehara et al - Savio’s attorney) 526-3011
Ken McDermott (USFWS) 526-3011

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Case 1:06-cv-00828-MBH Document 9-1 Filed "q 5 Page 26 of 54

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

August .1, 1997

Mr. Joe Dettling
74-4950 Palani Road
Kailua-Kona, Hawaii 96740

Dear Mr. Dettling:

It has come to our attention that you have been fishing in and around Palmyra Island and
Kingman Reef. Both islands are privately owned by the Fullard-Leo family.

We also understand that you may be planning to use the lagoons of both islands for a
seaplane/fishing operation.

Since the islands, lagoons, reefs and territorial waters are private property, you are advised
that you cannot enter into these areas without permission.

If you continue to disregard the owners’ rights, we will take legal action against you to
enforce the owners’ rights.

If you have any questions and/or need any clarification, please feel free to call me.

    

Sincerely,

Peter B. Savio
President

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Case 1:06-cv-00828MBH Document 9-1 Filed “~o Page 27 of 54

Preliminary Project Proposal

Line Islands Units
(Palmyra Atoll and Kingman Reef)

Remote Islands National Wildlife Refuge Complex
Honolulu, Hawaii

August 1997
Introduction: The U.S. Fish and Wildlife Service (Service) is proposing to study the addition of
Palmyra Atoll and Kingman Reef, atolls located in the Pacific Ocean in the northern Line
Islands, as units of the Remote Islands National Wildlife Refuge Complex (Refuge Complex).
The proposed refuge units could provide the Service with the ability to conserve unique
equatorial resources of the United States, including native Pisonia forests and other essential
habitats of large numbers of migratory Pacific seabirds and shorebirds, endangered and
threatened sea turtles, endangered monk seals, and other marine life associated with these atolls.

- Location and Size: Both atolls are located in the northern end of the Line Islands Archipelago
in the equatorial Pacific (figure 1). Palmyra Atoll is located approximately 1,700 kilometers
(1,057 miles)-south of Honolulu at latitude 5°53' N, longitude 162°05' W (figure 2). The outer
reef is approximately 4.8 kilometers (3 miles) wide by 8 kilometers (5 miles) long.
Approximately 52 islets totalling 275 hectares (680 acres) comprise the emergent land at
Palmyra Atoll. .

Kingman Reef is the northernmost atoll in the Line Islands Archipelago (figure 3). Itis located
approximately 1,480 kilometers (920 miles) south of Honolulu at latitude 6°25' N, longitude

. 162°25' W, and is approximately 53 kilometers (33 miles) northwest of Palmyra Atoll. Kingman
Reef is a submerged atoll reef that is triangular in shape with its apex to the north. The reef is
approximately 8 kilometers (5 miles) long and 15 kilometers (9 miles) wide atits base. Although
there is no permanent emergent land at Kingman Reef, a small sand spit approximately 40 meters
(131 feet) long and I meter-(3 feet) above sea level occurs on the east side of théteef.

“Description of Habitat: Palmyra Atoll and Kingman Reef are located within an area of the

_ equatorial Pacific Ocean known as the “Intertropical Convergence Zone.” In this zone, northeast
and southeast tradewinds meet and low pressure causes almost constant clouds and rain. The
nutrient rich waters of the north equatorial countercurrent are important feeding grounds for
nesting birds of Palmyra Atoll and contribute to the rich ocean resources found at both Palmyra ©

“Atoll and Kingman Reef.

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Case 1:06-cv-00828;MBH Document 9-1 Filed O2/dapy Page 28 of 54
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Palmyra Atoll. Palmyra Atoll consists of approximately 52 heavily vegetated, low- lying islets
with a maximum elevation of approximately 2.1 meters (7 feet) above sea level. The islets are
made up primarily of a limestone base with a thin layer of organic soil in vegetated areas. The
islets encircle three central lagoons (with depths up to 53 meters or 174 feet). The islets are
surrounded on the seaward side by extensive reef flats to the north, south, and west.

Palmyra Atoll's location within the Intertropical Convergence Zone results in an unusually high
rainfall that averages 4,400 millimeters (175 inches) annually. The temperature varies little,
averaging 26.6°C (80°F) and ranges from 23.9-29.4°C (75-85°F). The atoll is occasionally hit by
strong tropical storms bringing high winds and waves.

The islets of Palmyra Atoll are covered with a dense jungle of native Pisonia grandis wet forest.
This is one of two Pisonia forest natural communities under United States’ Jurisdiction in the
Pacific (the other, being a small patch at Rose Atoll National Wildlife Refuge in the south
Pacific), and is one of the few remaining intact stands throughout the Pacific. The wet forests
support a number of fern species including bird’s nest fern (Asplenium nidus), lau’3e fem
(Phymatosorus scolopendria), and swordfem (Nephrolepis hirsutula). The Pisonia forests on
Palmyra Atoll provide important breeding and roosting sites for tree-nesting seabirds. Native
coastal strand plants (such as beach naupaka and tree heliotrope) are found primarily around the

- shoreline areas and provide nesting and roosting sites for the Red-footed Booby and Great

Frigatebird. Nonnative plants include coconuts (Cocos sp.) and a variety of introduced
ornamentals. The central islet contains open Lepturus grasslands that are important nesting areas
for large Sooty Tem (Sterna fuscata) colonies and feeding Sites for migratory shorebirds.
Intertidal mudflats, exposed during low tide, provide rich foraging for mugratory shorebirds.

A wide beach located on the northwestern shore of Cooper Island is a site for threatened green
sea turtles nesting. Numerous stretches of narrow white sand beach are found bordering various

_ islets. -The waters of the lagoon, coral reef, and ocean support large populations of marine

organisms.

Navy occupation of Palmyra Atoll during and following World War II resulted in changes to the

"atoll. The lagoons, entrance channel, and a deep harbor were dredged; a 17829-meter (6,000-
__ foot) runway and two smaller airstrips were built; a causeway that joined a number of islets and

divided one of the lagoons was built; and facilities to support a large military base were
developed. Most of the Navy buildings have been demolished, although a few still remain in a
deteriorated condition. The former roads have deteriorated and the main causeway has been
breached in several places. The two runways are being overgrown with vegetation, although one
runway has been cleared periodically by hand.

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Kingman Reef. There is no permanent terrestrial land at Kingman Reef, although a sand spit

 

_ serves as turtle nesting habitat. The major habitats of Kingman Reef are the unexploited coral

reef and deep water marine communities. The reef encircles a deep central lagoon with depths
ranging from approximately 18 meters (60 feet) to 91 meters (300 fest).

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Case 1:06-cv-00828;MBH Dotument 9-1 Filed 02/22/07 Page 29 of 54

Major Wildlife Values:

Palmyra Atoll. Palmyra Atoll supports colonies of international importance for several species
of Pacific migratory seabirds. Twenty-nine species of birds have been recorded at Palmyra Atoll
(appendix A), including the largest nesting colony of the Red-footed Booby (Sula sula)' and
Black Noddy Tern (dnous minutus) in the central Pacific.. Other important nesting species
include the Brown Noddy Tern (Anous stolidus), large colonies of the Sooty Tern (Sterna
fuscata), as well as the White Tem (Gygis alba), Brown Booby (Sula.leucogaster), and Great
Frigatebird (Fregata minor). Other breeding seabirds include the White-tailed Tropicbird

(Phaethon lepturus), Red-tailed Tropicbird (Phaethon rubricauda), and Masked Booby (Sula
dactylatra).

The rocky shoreline and extensive mudflats are important wintering areas for migratory
shorebirds, including the Pacific Golden Plover (Pluvialis fulva), Ruddy Turnstone (Arenaria
interpres), and Wandering Tattler (Heteroscelus incanus). The Bristle-thighéd Curlew
(Numenius tahitiensis), a species of management concem, is found in relatively high numbers on
Palmyra Atoll. Biologists counted 227 Bristle-thighed Curlews on Palmyra Atoll in 1992, a
significant number in light of a recent world population estimate of only 7,000 individuals.
Oceanic islands in the Pacific serve as vital wintering locations for adults and as year-round
residences for juveniles younger than 3 years of age. The wintering birds undergo a flightless
period during molt that makes predator-free sites essential to them. Four of the curlews sighted
in 1992 had color bands that had been placed on them at their Alaskan breeding sites.

Nesting by the threatened green sea turtle (Chelonia mydas) has been observed on Cooper Island.
The endangered hawksbill sea turtle (Eretmochelys imbricata) is regularly sighted in the waters
of the atoll. The pilot whale (Globicephala macrorhynchos) and bottle-nosed dolphin (Tursiops
truncatus) have been reported in. the lagoon. The endangered Hawaiian monk seal (Monachus

_ schauinslandi) has been sighted on two separate occasions within the atoll.

A 1990 oceanographic survey of the north Equatorial Countercurrent by the National Marine
Fisheries Service found the current and the lagoons of Palmyra Atoll to be rich in fishes and their
larvae. The lagoon waters and reefs of the atoll support large numbers of fish including mullet,
milkfish, blacktip reef sharks, bonefish, and other species. The ocean near Palmyra Atoll is
reported by the State of Hawaii as having abundant tuna resources.

Palmyra Atoll has a number of terrestrial crabs including hermit crabs’ (Coenobita brevimanus -
and C. perlata), a native land crab (Cardisoma carnifex), and the coconut crab (Birgus latro).
Many of these species, particularly the coconut crab, aré imperiled in other parts of the Pacific

 

On 2 worldwide basis, the Red-footed Booby colony at Palmyra [sland is second in size only to the colony in the Galapagos
[slands in the eastern Pacific.
Case 1:06-cv-00828sMBH Document 9-1 Filed 02/22/0% Page 30 of 54

due to overexploitation by humans. Important marine molluscs include the giant clam (Tridacna
maxima), a species protected by CITES, and pearl oysters of the family Pteriidae.

Kingman Reef. Kingman Reef is reported to support a largely unexploited marine natural
community including coral reef species and open water pelagic fish species. There is likely an

island effect. at Kingman Reef that enhances the value of the surrounding waters to foraging
pelagic seabirds.

Relationship of Project to the Pacific Islands Ecosystem's Management Goals and

‘Objectives: Of all Pacific islands under U.S. control in the Pacific, Palmyra Atoll is unique in

terms of latitude and vegetation. Its high rainfall and complex vegetation structure make it very
different from all of the other seabird colonies already receiving protection in the Pacific Islands
Ecoregion. Protection and management of Palmyra Atoll and Kingman Reef would contribute
significantly to the conservation of migratory birds in the Pacific, as well as to the recovery of
endangered and threatened sea turtles, and population maintenance of the endangered Hawaiian
monk seal. Protection of Palmyra Atoll and Kingman Reef is specifically identified in the draft
Plan for the Pacific Islands Ecoregion (Ecoregion Plan) wider Objective 8: "By the year 2014,
secure lasting protection for the most intact areas of native habitat remaining in the Hawaiian and

Pacific Islands, preventing their iragmentation and enhancing the : functioning of their
ecosystem.”

Related Resources: The avian species of the Line Islands in the Republic of Kiribati are
protected by Kiribati law, but many seabirds are eaten by island residents. Kiribati is considered
a poor nation and the government has very little funds for wildlife management, protection, or
enforcement even though Malden, Starbuck, Vostok, and parts of Christmas (Kiritimati) are
designated as wildlife sanctuaries. Poaching and introduced mammalian predators (rats, cats,
dogs) have extirpated ground nesting bird populations in most of the Line Islands. There is no

information readily available on the status of sea turtles or fish resources management in
Kiribati.

Howland, Baker, and Jarvis National Wildlife Refuges are located near Palmyra Atoll and
Kingman Reef in the Pacifi¢ ¢quatorial region. These small equatorial Refiiges are semi-arid and

_do not: feature the extensive lagoon sand-and-mudflats or Pisonia grandis forest habitats found
on Palmyra Atoll. Establishment of a staffed refuge at Palmyra could assist with lo gistic support

for management of other equatorial remote islands.

Palmyra Atoll and Kingman Reef are surrounded by the 200-nautical mile U.S. Fishery
Conservation Zone (F CZ), within which fishery resources are managed and regulated by the
Wester Pacific Regional Fisheries Management Council.

No archaeological remains or historic sites have been found on Palmyra Atoll, although evidence ©
of early Polynesian settlements can be inferred from coconut groves on the island.
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 31 of 54
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Pre-existing Wildlife-dependent Recreational Uses:

Palmyra Atoll. The current owners and their lessee allow yachters to visit Palmyra Atoll only
with permission. Visitors to the atoll engage in wildlife viewing and some sport-fishing for reef
fishes, pelagic fishes, and reef invertebrates. The owners forbid the taking of coconut crabs.

Kingman Reef. Explorers wishing to visit Kingman Reef must secure permission from the
Fullard-Leo family and the U.S. Coast Guard. Recreational uses that rarely occur may include
sport fishing, diving, and wildlife observation.

Threats:

Palmyra Atoll. Palmyra Atoll’s isolation and small size make resident wildlife particularly

- vulnerable to loss of habitat or degradation of habitat quality. Seabirds are sensitive to human

disturbance which can disrupt nesting. Large nesting colonies of Sooty Tern are vulnerable to
habitat loss when grass aredS are converted to runways or roads. Other threats to the wildlife
resources of Palmyra Atoll include predation by nonnative mammals (e.g., black rats, domestic
dogs, pigs, and cats); displacement of native plants through the spread of invasive nonnative
species; oil spills; and terrestrial and marine debris. Palmyra Atoll has been considered for a
number of large development projects including a fish processing plant; nuclear waste storage
facility; marine mineral processing station; and various resort proposals. Poaching occurs
periodically on this remote, isolated atoll.

 

Kingman Reef. The primary threats to the natural resources at Kingman Reef are oil spills,
shipwrecks, and poaching.

Water Availability and Water Rights: There are no water resources or water nghts issues
associated with the proposed acquisition at Palmyra Atoll and Kingman Reef.

Justification and Funding: Trust resources present at Palmyra Atoll and Kingman Reef fall
under the authorities of the Migratory Bird Treaty Act, Endangered Species Act, and Marine
Mamunal Protection Act.’ The protection and management of natural resources af Palmyra Atoll

_and Kangman Reef would contribute to the protection and recovery of endangered and threatened

species. It would also contribute to the protection of significant native biodiversity including
world-class migratory seabird colonies and outstanding marine resources; and could provide
opportunities for compatible ecotourism. The wet Pisonia equatorial forest ecosystem found on
Palmyra Atoll is not represented in the National Wildlife Refuge System and is considered to be
an imperiled ecosystem globally. Funding for acquisition would be sought from the Land and
Water Conservation Fund.

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Case 1:06-cv-00828>MBH Document 9-1 Filed 02/22/07, Page 32 of 54

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Ownership and Type of Acquisition:

Palmvra Atoll. Palmyra Atoll is currently owned by the Fullard-Leo family of Honolulu,
Hawaii except for two parcels on Home Island that are owned by the Cooper family. The atoll is
under the administrative jurisdiction of the Department of the Interior. The Service is proposing
to study fee title acquisition of Palmyra Atoll from the center of the atoll to the 3-nautical mile
limit. There may be an opportunity for the Service to enter into a cooperative partnership with a
private partner to provide refuge unit logistic support and opportunities for compatible

‘ecotourism.

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Kingman Reef. Kingman Reef was annexed on behalf of the United States in 1922, by the
Palmyra Copra Company (Fullard-Leo family), and the family claims ownership. It is an
unincorporated U.S. possession administered by the U.S. Department of the Navy. The Service

is proposing to study fee title acquisition of Kingman Reef from the center of the atoll to the 3-
nautical mile limit. 2

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Initial and Annual Costs: There are no comparable sales of a private Pacific Island on which to

_ base an estimate of the sale price of Palmyra Atoll, although published listing prices have ranged

from $30 million in 1988 to $36 million in 1996. The Nature Conservancy is considering
funding an appraisal immediately, and it is believed that the results may show. a significantly
lower value ($15 million) than earlier value estimates. The landowners are reportedly willing to
sell their lands to prevent heirs from acquiring a large inheritance tax debt. This willingness to
sell, coupled with a desire to perpetuate the natural values of the atoll, could result in a more
favorable price for the Service. Partnerships with national or international conservation agencies,
like The Nature Conservancy, could help with the funds for acquisition. There is a very real
possibility that a portion of the property could be purchased by the private sector for

conservation and wildlife recreation purposes, thus significantly reducing the costs to the Federal
government.

Similarly, the price for fee title to Kingman Reefis unknown. Due to the negligible commercial
real estate value, it might be possible to include it in the purchase price negotiated for Palmyra.

‘Start up-costs for Palmyra Atoll would total $75,000 and include $30,000 for a detailed

environmental survey, $25,000 for refuge management planning, and $20,000 for a field camp
facility development. These costs could be offset through partnership programs to conduct
surveys, initiate management activities, and to develop the facilities.

Annual costs for operating remote island refuges are higher than those of most refuges in the
National Wildlife Refuge System, due primarily to the cost of transporting personnel and

equipment to and from remote stations, remote duty station pay adjustments, and the need for
- more frequent equipment maintenance or replacement due to the highly corrosive marine

environments. Should a Refuge headquarters be established on the atoll, annual refuge ~
operations and maintenance costs are estimated at $500,000 and include boats, equipment,

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Case 1:06-cv-00828;MBH Document 9-1 Filed 02/22/07 Page 33 of 54

salaries, and transportation. At this level of management, there would be a Refuge Manager, an
Assistant Refuge Manager, a Biologist, and Maintenance Worker on staff.

Start up costs for the management of Kingman Reef would be nominal and are estimated at
$30,000. This would include the cost of a natural resources survey and management plan.
Annual operating and maintenance costs (estimated to be $20,000) would also be nominal since

the Service would likely maintain the atoll in a custodial status with periodic resource monitoring
and law enforcement expeditions.

In the case of some private-sector ownership at Palmyra, it may be possible for the Service to use
living quarters and office space on private property, under a cooperative agreement. Service
employees would provide interpretive tours for visitors and assist the private sector with any
wildlife-related issues associated with ecotourism or wildlife-dependent recreation. This

arrangement, modeled after the public/private parmership at Midway Atoll National Wildlife
Refuge, may further reduce operational costs to the Service. ;

Contaminants and Hazardous Wastes: Contaminants and hazardous wastes that may be
present on Palmyra are believed to be typical of industrial and military wastes commonly
dumped or stored on other Pacific atolls (e.g., PCB's, solvents, cleaners, oils, paimts, etc.). The
Service has identified barrel dumps, transformers, an old hospital site, a munitions bunker, and
underground fuel storage tanks during preliminary site surveys. The U.S. Army Corps of
Engineers has conducted site assessments of Palmyra Atoll and is reportedly beginning
restoration efforts. The landowners have requested that detailed data and reports of contaminants
not be disclosed at this tme. This information could reduce the cost of the preacquisition
contaminants survey at Palmyra Atoll.

If contaminants and hazardous wastes are present at Kingman Reef, they are likely under water.

_ Unauthorized ocean dumping could have been conducted in the area, and unexploded ordnance

could exist. The Service would need to conduct a preacquisition contaminants survey at

- Kingman Reef.

Public Attitude and Involvément: The landowners are willing to consider an offer from the

_Service, but remain open to the possibility of purchase by outside interests (e.g., nuclear waste

storage companies) because of economic considerations.

The conservation community is expected to support the establishment of refuge units at Palmyra
Atoll and Kingman Reef. The Nature Conservancy fully supports the Service's proposal to
protect Palmyra Atoll. Strong negative reactions from the public and congressional delegation to
a nuclear waste storage proposal in 1996 might indicate that there would be a favorable response
to the establishment of a refuge unit at Palmyra Atoll. Support from other organizations
concerned with conservation of Pacific wildlife resources is expected.

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Case 1:06-cv-00828;MBH Document 9-1 Filed 02/22/07 Page 34 of 54

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: Findings and Recommendations: The proposal to acquire Palmyra Atoll and Kingman Reef to

be managed as units of the Remote Islands National Wildlife Refuge Complex has sufficient
merit and support to warrant initiation of the detailed planning process to expand the Refuge
Complex. This Preliminary Project Proposal is being submitted at an early stage of project

- planning for the Director's approval to conduct detailed acquisition planning. Upon approval of

this document, preparation of a draft environmental assessment and other preacquisition planning

documents should begin in accordance with the National Environmental Policy Act process and
other requirements.
Case 1:06-cv-00828;MBH Document 9-1 Filed 02/22/07 Page 35 of 54

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Appendix A. Selected wildlife of Palmyra Atoll.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2 ; Common name: ; Seientific namie: | | Federal | ~ , Occurrence
- PE LEER eS [| status: - Fat Palmyra:
AVIFAUNA
Audubon's Shearwater Puffinus lherminiert Migratory Visitor
White-tailed Tropicbird Phaethon lepturus Migratory Breeding
Red-tailed Tropicbird Phaethon rubricauda Migratory Breeding
Masked Booby Sula dactylatra. Migratory Breeding
Brown Booby Sula leucogaster © Migratory Breeding _
Red-footed Booby Sula sula Migratory Breeding
Great Frigatebird Fregata minor Migratory Breeding
Lesser Frigatebird Fregata ariel Migratory Visitor
Pacific Golden-plover Pluvialis fulva Migratory Wintering
Sharp-tailed Sandpiper Calidris acuminata Migratory Wintering
Sanderling Calidris alba “ Mi gratory Wintering
ectoral Sandpiper Calidris melanotos Migratory Visitor
Ruddy Turmstone Arenaria interpres Migratory Wintering
Wandering Tattler | Heteroscelus incanus Migratory Wintering
Bristle-thighed Curlew Numentus tahitiensis Migratory Wintering
Laughing Gull Larus atricilla Migratory Accidental
Franklin's Gull Larus pipixcan Migratory ~~ T'Accidental
“Sooty Tem Sterna fuscata Migratory Breeding
Great Crested Tern Sterna bergii none Visitor
Brown Noddy Anous stolidus Migratory — Breeding
‘Black Noddy Anous minutus Migratory Breeding
White Tern Gygis alba Migratory Breeding
Mallard Anas platyrhynchos Migratory Visitor
Northern Pintail Anas acuta | Migratory -Visitor
Green-winged Teal Anas crecca carolinensis Migratory Visitor

 

 
 

 

Case 1:06-cv-00828:MBH Document 9-1 Filed 02/22/07,

Page 36 of 54

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Common name: } Scientific name: : Federal Occurrence |
ae me }. status vat Palmyra: |

Eurasian Widgeon Anas penelope Migratory Visitor

American Widgeon Anas americana Migratory Visitor

Northern Shoveler Anas clypeata Migratory Visitor

Cattle Egret Bubulcus ibis Migratory Visitor

MARINE REPTILES:

Green sea turtle Chelonia mydas eatened Breeding
Hawksbill turtle Eretmochelys imbricata | Endangered Resident.

MARINE MAMMALS:

Pilot whale Globicephala - "| Native
macrorhynchos

Hawaiian monk seal Monachus schauinslandi | Endangered Native

Bottle-nosed dolphin Tursiops truncatus - Native

TERRESTRIAL ARTHROPODS:

Coconut crab Birgus latro ~ Native
Land crab Cardisoma carnifex - Native
Land hermit crab Coenobita brevimanus - Native
Land hermit crab . Coenobita perlatus - “Native

MARINE INVERTEBRATES:

Giant clam ; . ot Tridacna maxima CITES © ; | Native

INTRODUCED VERTEBRATES:

"| Marine Toad Bufo marinus - Introduced
Domestic chicken Gallus gallus - Introduced
Domestic cat Felis catus - - Introduced
Dog Canis familiaris - Introduced

Domestic pig Sus scrofa - Introduced
Black rat Rattus rattus - Introduced

 

 

 

 

 

 
Case 1:06-cv-00828;MBH Document 9-1 Filed 02/22/0% Page 37 of 54

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Palmyra Atall and Kingman Reef

 

 

 

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Figure 1. Proposed Line Islands Units,

 
Case 1:06-cv-00828)MBH Document 9-1 Filed 02/22/0% Page 38 of 54

 

 

 

 

 

 

 

 

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Holei .” Bird

LEGEND

| Emergent land
3 Shallow reef

 

Figure 2. Palmyra Atoll.

 
Page 39 of 54

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Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07,

 

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United States Department of the Interior Kraan Ras

FISH AND WILDLIFE SERVICE
Washington, D.C. 20240

 

In Reply Refer Toa:

FWS/RES7-00155
Memorandum °
‘To: + Regional Director, Region 1
. From: - pizectd& - separ COAL ot 2 OT
“subject: Preliminary Project Proposal for the establishment of

Palmyra Atoll National Wildlife Refuge and Kingman Reef
National Wildlife Refuge
Your proposal to proceed with detailed plannixg on the

establishment cf the above named National Wildlife Refuges is
approved.

ib

These addition 3S to the refuge system Will previde the Service the
‘ability to ‘conserve unique equatorial rescurces of the United
tates, including native Pisonia forests and other essential -
habitats: for larqe numbers of miqratory Pacific sea birds and
shorebirds, endangered and threatened sea turtles, endangered
monk seals and other marine life associated with these atolls.

We have concerns about the nossible contamination problems
associated with the past military use of the areas. The Service
has already identified Severel potential problems in preliminary
-site surveys. This eppzoval is contingent. tpon satisfactory
results from conlaminalioa tavesligalions. Close coordination

- between the Service and the Corgs of Engineers in the restoration

efforts on Palmyra Atoll will be critical to the success of this
“ - - « . oe? Te 0
portion of the-pzrdposal. - tS

The. proposal identified these refuges as “tine islands Units”

put no refuge nemed “Line Island” exists. Due to the isolated.
nature of these islands. and the existing classification of other
island refuges in the Pacific each area should be a National
Wildlife Refuge, For administraticn purposes they may be managed
by the. Remote ist ands NWR Complex office in Fonolulu.

The detailed pl anning process must include compliance with the
National Environmental Policy Act and othe= appiicable laws,
regulations, and orders. Please forward three copies of the

drart and final planning documents to the Assistant Director ~-
“Refuges and Wildlife (ARW/RE).

FWS 00223

 
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 41 of 54

Preliminary Project Proposal

Line Islands Units
(Palmyra Atoll and Kingman Reef)

Remote Islands National Wildlife Refuge Complex
Honolulu, Hawai

August 1997

- Introduction: The U.S. Fish and Wildlife Service (Service) is proposing to study the addition of

Palmyra Atoll and Kingman Reef, atolls located in the Pacific Ocean in the northern Line
Islands, as units of the Remote Islands National Wildlife Refuge Complex (Refuge Complex).
The proposed refuge units could provide the Service with the ability to conserve unique
equatorial resources of the United States, including native Pisonia forests and other essential
habitats of large numibers 6f migratory Pacific seabirds and shorebirds, endangered and
threatened sea turtles, endangered monk seals, and other marine life associated with these atolls.

Location and Size: Both atolls are located in the northern end of the Lime Islands Archipelago
in the equatorial Pacific (figure 1). Palmyra Atoll is located approximately 1,700 kilometers
(1,057 miles) south of Honolulu at latitude 5°53’ N, longitude 162°05' W (figure 2). The outer
reef is approximately 4.8 kilometers (3 miles) wide by 8 kilometers (5 miles) long.
Approximately 52 islets totalling 275 hectares (680 acres).comprise the emergent land at

_ Palmyra Atoll.

Kinoman Reef is the northernmost atoll in the Line Islands Archipelago (figure 3). It is located
approximately 1,480 kilometers (920 miles) south of Honolulu at latitude 6°23' N, longitude
162°25' W, and is approximately 53 kilometers (33 miles) northwest of Palmyra Atoll. Kingman
Reef is a submerged atoll reef that is triangular in shape with its epex to the north. The reef is
approximately 8 kilometers (5 miles) long-and.15 kilometers (9 miles) wide at its base. Although
th ere is no permanent emergent land at Kingman Reef, a small sand spit approximately 40 meters
(131 feet) long and I'ineter(3 feet) above sea level occurs on the east sideof thé reef.

“Description of Habitat: Palmyra Atoll and Kingman Reef are located within an area of the

equatorial Pacific Ocean known as the “Intertropical Convergence Zone." In this zone, northeast.
and southeast tradewinds meet and low pressure causes almost constant clouds and rain. The
nutrient rich waters of the north equatorial countercurrent are important feeding grounds for

nesting birds of Palmyra Atoll and contribute to the rich ocean resources found at both Palmyra

Atoll and Kingman Reef.

i | FWS 00224
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 4

eS 2 of 54

Palmvra Atoll. Palmyra Atoll consists of approximately 52 heavily vegetated, low-lying islets
with a maximum elevation of approximately 2.1 meters (7 feet) above sea level. The islets are
made up primarily ofa limestone base with a thin layer of organic soil in vegetated areas. The
islets encircle three central lagoons (with depths up to 53 meters or 174 feet). The islets are
surrounded on the seaward side by extensive reef flats to the north, south, and west.

Palmyra Atoll's location within the Intertropical Convergence Zone results in an unusually high

rainfall that averages 4,400 millimeters (175 inches) annually. The temperature varies little,

averaging 26.6°C (80°F) and ranges from 23.9-29.4°C (75-85°F).: The atoll is occasionally hit by

strong tropical storms bringing high winds and waves.

es , | - -Atol i i j f native Pisonia grandis wet forest.
slets of Palmyra Atoll are covered with a dense jungle o ua Brana W

This is one of two Pisonia forest natural communities under United States’ jurisdiction in the

Pacific (the other, being a small patch at Rose Atoll National Wildlife Refuge in the south

- Pacific), and is one of the few remaining intact stands throughout the Pacific. The wet forests

support a number of fem species including bird's nest fern (Asplenium nidus), lane fern

- (Phymatosorus scolopendria), and swordfern (Nephrolepis hirsutula). The Pisonia forests on

rovide important breeding and roosting sites for tree-nesting seabirds. Native |
ante an ants (cach as beach naupaka.and tree heliotrope) are found primarily wound the
shoreline areas and provide nesting and roosting sites for the Red-footed Booby and Great
Frigatebird. Nonnative plants include coconuts (Cocos sp.) and a variety of introduced
ornamentals. The central islet contains open Lepturus gasslands that are important nesting areas
for large Sooty Tern (Sterna fuscata) colonies and feeding sites for migratory shorebir * os
Intertidal mudflats,. exposed during low tide, provide rich foraging tor migratory shorebird .

A wide beach Jocated on the northwestern shore of Cooper Island is a site for threatened green
sea turtles nesting. Numerous stretches of narrow white sand beach are found bordering various
islets. The waters of the lagoon, coral reef, and ocean support large populations of marine
organisms.

Navy occupation of Palmyra-Atoll during and following World War I resulted in changes to the

atoll. The lagoons, entrance channel, and a deep harbor were dredged; a 1)829*meter (6,000-

foot) mmway and two smaller airstrips were built; a causeway that j coined a number of islets and
* divided one of the lagoons was built; and facilities to support a large military base were

developed. Most of the Navy buildings have been demolished, although a few still ee ina
deteriorated condition. The former roads have deteriorated and the main causeway has been

breached in several places. The two runways are being overgrown with vegetation, although one
runway has been cleared periodically by hand.

Kingman Reef. There is no permanent terrestrial land at Kingman Reef, although “ Sane Pi
serves as turtle nesting habitat. The major habitats of Kingman Reef are the unexp one cor
reef and deep water marine communities. The reef encircles a deep central lagoon with dep
ranging from approximately 18 meters (60 feet) to 91 meters (300 fest).

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FWS 00225
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 43 of 54

Major Wildlife Values:

Palmvra Atoll. Palmyra Atoll supports colonies of international importance for several species
‘of Pacific migratory seabirds. Twenty-nine species of birds have been recorded at Palmyra Atoll
(appendix A), including the largest nesting colony of the Red-footed Booby (Sula sula)' and
Black Noddy Tern (dnous minutus) in the central Pacific. Other important nesting species
include the Brown Noddy Term (Anous stolidus), large colonies of the Sooty Tern (Sterna
fuscaia), as well as the White Tern (Gygis alba), Brown Booby (Sula leucogaster), and Great
Frigatebird (Fregata minor). Other breeding seabirds include the White-tailed Tropicbird

(Phaethon lepturus); Red-tailed Tropicbird (Phaethon rubricauda), and Masked Booby (Sula
dactylatra).

The rocky shoreline and extensive mudflats are important wintering areas for migratory

shorebirds, including the Pacific Goiden Plover (Pluvialis fulva), Ruddy Turnstone (Arenaria
interpres), and Wandering Tattler (Heteroscelus incanus). The Bristle-thighed Curlew ;
(Numenius tahitiensis), a species of management concer, is found in relatively high numbers on -
Palmyra Atoll. Biologists counted 227 Bristle-thighed Curlews on Palmyra Atoll in 1992, a
significant number in light of a recent world population estimate of only 7,000 individuals.

Oceanic islands in the Pacific serve as vital wintering locations for adults and as year-round.
residences for juveniles younger than 3 years of age. The wintering birds undergo a flightless
period during molt that makes predator-free sites essential to them. Four of the curlews sighted

in 1992 had color bands that had been placed on them at their Alaskan breeding sites.

_ Nesting by the threatened green sea turtle (Chelonia mydas) has been observed on Cooper Island.
The endangered hawksbill sea turtle (Eretmochelys imbricata) is regularly sighted in the waters

- of the atoll. The pilot whale (Globicephala macrorhynchos) and botile-nosed dolphin (Tursiops
pruncatus) have been reported in the lagoon. The endangered Hawaiian monk seal (Monachus
s¢chauinslandi) has been sighted on two separate occasions within the atoll.

A 1990 oceanographic survey of the north Equatorial Countercurrent by the National Marine
Fisheries Service found the current and the lagoons of Palmyra Atoll to be rich in fishes and their
larvae. The lagoon waters and reefs of the atoll support large numbers of-fish inciading mullet,

" nilkdish, blacktip reef sharks, bonefish, and other species. The ocean near Palmyra Atoll is
reported by the State of Hawaii as having abundant tuna resources. .

Palmyra Atoll has a number of terrestrial crabs including hermit crabs (Coenobita brevimanus
and C. perlata), a native land crab (Cardisoma carnifex), and the coconut crab (Birgus latro).
Many of these species, particularly the coconut crab, are imperiled in other parts of the Pacific

 

On a worldwide basis, the Red-footed Booby colony at Palmyra Island is second in size only to the colony in the Galapagos
Islands in the caste Pacific.

FWS 00226
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 44 of 54

due to overexploitation by humans. Important marine molluscs include the giant clam (Tridacna
maxima), a species protected by CITES, and pearl oysters of the family Pterlidae.

Kingman Reef. Kingman Reef is reported to support a largely unexploited marine na
community including coral reef species and open water pelagic fish species. There is likely an
island effect at Kingman Reef that enhances the value of the surrounding waters to foraging
pelagic seabirds.

Relationship of Project to the Pacific Islands Ecosystem's Management Goals and _
Objectives: Of all Pacific islands under U.S. control in the Pacific, Palmyra Atoll is unique in
terms of latitude and vegetation. Its high rainfall and complex vegetation structure make it very
- different from all of the other seabird colonies already receiving protection in the Pacific Islands
Ecoregion. Protection and management of Palmyra Atoll and Kingman Reef would contribute
significantly to the conservation of migratory birds in the Pacific, as well as to the recovery of
endangered and threatened sea turtles, and population maintenance of the endangered Hawaiian
monk seal. Protection of Palmyra Atoll and Kingman Reef is specifically identified in the draft
Plan for the Pacific Islands Ecoregion (Ecoregion Plan) under Objective 8: "By the year 2014,
secure lasting protection for the most intact areas of native habitat remaining in the Hawaiian and
Pacific Islands, preventing their fragmentation and enhancing the functioning of their
ecosystem.”

Related Resources: The avian species of the Line Islands in the Republic of Kiribati are
protected by Kiribati law, but many seabirds are eaten by island residents. Kiribati is considered
a poor nation and the government has very little funds for wildhife management, protection, or
enforcement even though Malden, Starbuck, Vostok, and parts of Christmas (Kiritimati) are
designated as wildlife sanctuaries. Poaching and introduced mammalian predators (rats, cats,
dogs) have extirpated ground nesting bird populations in most of the Lime Islands. There is n0
information readily available on the status of sea turiles or fish resources management m
Kiribati.

Howland, Baker, and Jarvis National Wildlife Refuges are located near Palmyra Atoll and
Kingman Reef in the Pacifi¢-equatorial region. These small equatorial Refuges are semi-arid and
do not feature the extensive lagoon sand-and-mudflats or Pisonia grandis forest habitats found

” on Palmyra Atoll. Establishment.ofa staffed refuge at Palmyra could assist with logistic support
for management of other equatorial remote islands.

Palmyra Atoll and Kingman Reef are surrounded by the 200-nautical mile USS. Fishery
Conservation Zone (FCZ), within which fishery resources are managed and regulated by the

’ Western Pacific Regional Fisheries Management Council.

No archaeological remains or historic sites have been found on Palmyra Atoll, although evidence
of early Polynesian settlements can be inferred from coconut groves on the island.

FWS 00227
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 45 of 54

Pre-existing Wildlife-dependent Recreational Uses:

 

Palmvra Atoll. The current owners and their lessee allow yachters to visit Palmyra Atoll only |
with permission. Visitors to the atoll engage in wildlife viewing and some sport-fishing for reef
fishes, pelagic fishes, and reef invertebrates. Tne owners forbid the taking of coconut crabs.

Kingman Reef. Explorers wishing to visit Kingman Reef must secure permission from the
Fullard-Leo family and the U.S. Coast Guard. Recreational uses that rarely occur may include
sport fishing, diving, and wildlife observation.

Threats:

Palmyra Atoll. Palmyra Atoll's isolation and small size make resident wildlife particularly
vulnerable to loss of habitat or degradation of habitat quality. Seabirds are sensitive to human
disturbance which can disrupt nesting. Large nesting colonies of Sooty Tern are vulnerable to
habitat loss when grass aredS are converted to runways or roads. Other threats to the wildlife
resources of Palmyra Atoll include predation by nonnative mammals (¢.g., black rats, domestic .
dogs, pigs, and cats); displacement of native plants through the spread of invasive nonnative
species; oil spills; and terrestrial and marine debris. Palmyra Atoll has been considered for a
number of large development projects including a fish processing plant; nuclear waste storage
facility; marine mineral processing station; and various resort proposals. Poaching occurs
periodically on this remote, isolated atoll.

ingman Reef. The primary threats to the natural resources at Kingman Reef are oil spills,
shipwrecks, and poaching.

Water Availability and Water Rights: There are no water resources or water Tights issues
associated with the proposed acquisition at Palmyra Atoll and Kingman Reef.

Justification and Funding: ‘Trust resources present at Palmyra Atoll and Kingman Reef fall
under the authorities of the Migratory Bird Treaty Act, Endangered Species Act, and Marine
Mammal Protection Act.” The protection and management of natural resources ét Palmyra Atoll
and Kingman Reef would contribute to the protection and recovery of endangered and threatened

" species. It would also contribute to the protection of significant native biodiversity including
world-class migratory seabird colonies and outstanding marine resources; and could provide |
opportunities for compatible ecotourism. The wet Pisonia equatorial forest ecosystem found on
Palmyra Atoll is not represented in.the National Wildlife Refuge System and is considered to be
an imperiled ecosystem globally. Funding for acquisition would be sought from the Land and
Water Conservation Fund.

FWS 00228
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 46 of 54

Ownership and Type of Acquisition:

| t ra Atoll is currently owned by the Fullard-Leo family of Honolulu,
Palme Ate" fame parcels on Home Island that are owned by the Cooper family. The atoll is
Hawan & a ainistrative jurisdiction of the Deparunent of the Interior. The Service is proposing
nee nt ve title acquisition of Palmyra Atoll from the center of the atoll to the 3-nautical mile
to Say ee may be an opportunity for the Service to enter into a cooperative partnership with a
onvat partner to provide refuge unit logistic support and opportunities for compatible
ecotourism.

Ki alf of the United States in 1922, by the
i Reef. Kingman Reef was annexed on beh |
even Copra Company (Fullard-Leo family), and the family claims ownership. Itis an _
: acon orated U.S. possession administered by the U.S. Department of the Navy. The Service
is mrepositig to study fee title acquisition of Kingman Reef from the center of the atoll to the 3-_
nautical mile limit. 2

iti : are no comparable sales of a private Pacific Island on which to
init and ADnUa he sale orice of Palmyra Atoll, although published lisung prices have ranged
fen $30 million in 1988 to $36 million in 1996. The Nature Conservancy 1s considering 4
funding an appraisal immediately, and itis believed that the results may show a ies an ly to
lower value (S15 million) than earlier value estimates. The landowners are Poe y veiling ¢
sell their lands to prevent heirs from acquiring a large inheritance tax debt. ie nencss

led with a desire to perpetuate the natural values of the atoll, coul in

ee sce for the Service. Partnerships with national or international conservation agencies,
Le a arure Conservancy, could help with the funds for acquisition. There is a very real
possibility that a portion of the property could be purchased by the private sector for

- conservation and wildlife recreation purposes, thus significantly reducing the costs to the Federal
co
government.

i 1 i eef is unknown. Due to the negligible commercial
‘milarly, the price for fee ttle to Kingman Reet is ot :
veal nie valve, it might be possible to include it in the purchase price negotiated for Palmyra.

t 75 include $30,000 for a detailed
ts for Palmyra Atoll would total $ 75,000 and inc ;
ee emental survey, $25,000 for refuge management planning, and $20,000 for a fe camp
facility development. These costs could be offset through parmersiip programs to conduc
surveys ‘nitiate management activities, and to develop the facilities.

Annual costs for operating remote island refuges are higher than those of most eS the

National Wildlife Refuge System, due primarily to the cost of transp orting pers ee ei for
equipment to and from remote stations, remote duty staton pay adjustmen : Se oe

" more frequent equipment maintenance or replacement due to the aN a

environments. Should a Refuge headquarters be established on the atoll, annual reftug -

operations and maintenance costs are estimated at $500,000 and include boats, equipment,

6
FWS 00229
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 47 of 54

salaries, and transportation. At this level of management, there would be a Refuge Manager, an
Assistant Refuge Manager, a Biologist, and Maintenance Worker on staff.

Start up costs for the management of Kingman Reef would be nominal and are estimated at
$30,000. This would include the cost of a natural resources survey and management plan.
Annual operating and maintenance costs (estimated to be $20,000) would also be nominal since
the Service would likely maintain the atoll im a custodial status with periodic resource monitoring
and law enforcement expeditions.

In the case of some private-sector ownership at Palmyra, it may be possible for the Service to use
living quarters and office space on private property, under a cooperative agreement. Service .
employees would provide interpretive tours for visitors and assist the private sector with any
wildlife-related issues associated with ecotourism or wildlife-dependent recreation. This
arrangement, modeled after the public/private parmership at Midway Atoll National Wildlife
Refuge, may further reduce operational costs to the Service. :

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Contaminants and Hazardous Wastes: Contaminants and hazardous wastes that may be
present on Palmyra are believed to be typical of industrial and military wastes commonly

dumped or stored on other Pacific atolls (e.g., PCB's, solvents, cleaners, oils, paints, etc.). The
Service has identified barrel dumps, transformers, an old hospital site, a munitions bunker, and
undersround fuel storage tanks during preliminary site surveys. The U.S. Army Corps of
Engineers has conducted site assessments of Palmyra Atoll and is reportedly beginning

- restoration efforts. The landowners have requested that detailed data and reports of contaminants
not be disclosed at this time. This information could reduce the cost of the preacquisition
‘contaminants survey at Palmyra Atoll.

If contarninants and hazardous wastes are present at Kingman Reef, they are likely under water.
Unauthorized ocean dumping could have been conducted in the area, and unexploded ordnance
could exist. The Service would need to conduct a preacquisition contaminants survey at
Kingman Reef.

Public Attitude and Involvement: The landowners are willing to consider an offer from the
Service, but remain open to the possibility of purchase by outside interests (e.g., nuclear waste
“storage companies) because of economic considerations.

The conservation community is expected to support the establishment of refuge units at Palmyra
Atoll and Kingman Reef. The Nature Conservancy fully supports the Service's proposal to
protect Palmyra Atoll. Strong negative reactions from the public and congressional delegation to
a nuclear waste storage proposal in 1996 might indicate that there would be a favorable response
to the establishment of a refuge unit at Palmyra Atoll. Support from other organizations
concemed with conservation of Pacific wildlife resources is expected.

7 FWS 00230
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 48 of 54

” Findings and Recommendations: The proposal to acquire Palmyra Atoll and Kingman Reef to
be managed as units of the Remote Islands National Wildlife Refuge Complex has sufficient

merit and support to warrant initiation of the detailed planning process to expand the Refuge
Complex. This Preliminary Project Proposal is being submitted at an early stage of project
planning for the Director's approval to conduct detailed acquisition planning. Upon approval of

‘this document, preparation of a draft environmental assessment and other preacquisition planning
documents should begin in accordance with the National Environmental Policy Act process and
other requirements.

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FWS 00231
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 49 of 54

Appendix A. Selected wildlife of Palmyra Atoll.

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AVIFAUNA

Audubon's Shearwater Puffinus lherminieri Migratory Visitor
White-tailed Tropicbird Phaethon lepturus Migratory Breeding
Red-tailed Tropicbird Phaethon rubricauda Migratory Breeding
Masked Booby Sula dactylatra Migratory Breeding

| Brown Booby Sula leucogaster Migratory Breeding |
Red-footed Booby Sula sula Migratory Breeding
Great Frigatebird Fregata minor Migratory Breeding
Lesser Fri gatebird Fregata ariel Migratory Visitor
Pacific Golden-plover Phovialis fulva Migratory — Wintering
Sharp-tailed Sandpiper Calidris acuminata . Migratory Wintering
Sanderling Calidris alba Migratory Wintering
Pectoral Sandpiper Calidris melanotos ~ Migratory Visitor
Ruddy Turnstone Arenaria interpres Migratory Wintering
Wandering Tattler Heteroscelus incanus Migratory Wintering
Bristle-thighed Curlew Numentus tahitiensis Migratory Wintering
Laughing Gull - Larus arricilla Migratory . | Accidental -
Franklin’s Gull ues Larus pipixcan Migratory “owe Fs ccidental
Sooty Tern Sterna fuscata Migratory Breeding
Great Crested Tern Sterna bergit none Visitor
Brown Noddy Anous stolidus Migratory Breeding ©
Black Noddy Anous minutus Migratory Breeding
White Tern ‘Gygis alba Migratory ~ Breeding
Mallard Anas platyrhynchos Migratory Visitor
Northem Pintail Anas acuta Migratory Visitor
Green-winged Teal Anas crecca carolinensis. | Migratory Visitor

 

 

 

 

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Case 1:06-cv-00828-MBH Document 9-

1 Filed 02/22/07 Page 50 of 54

 

 

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Eurasian Widgeon Anas penelope | Migratory’ Visitor
American Widgeon Anas americana Migratory Visitor
Northern Shoveler Anas clypeata Migratory Visitor
Cattle Egret Bubulcus ibis Migratory Visitor
| MARINE REPTILES:
Green sea turtle Chelonia mydas Threatened Breeding
Hawksbill turtle. - Eretmochelys imbricata Endangered . Resident
MARINE MAMMALS: .
Pilot whale . Globicephala - - Native
macrorkynchos
Hawaiian monk seal Monachus schauinslandi | Endangered Native
Bottle-nosed dolphin Tursiops truncatus - Nattve
TERRESTRIAL ARTHROPODS:
Coconut crab Birgus larro - Native
Land crab Cardisoma carnifex - Native
Land hermit crab Coenobita brevimanus - . Native
| Land hermit crab Coenobita periatus - ‘Native
MARINE INVERTEBRATES:
Giant clam . | te Tridacna maxima CITES  _—___ , | Native
INTRODUCED VERTEBRATES:
, Marine Toad Bufo marinus — - Introduced
| Domestic chicken Gallus gallus - Introduced
Domestic cat Felis catus - Introduced
Dog Canis familiaris - Introduced
Domestic pig Sus scrofa - Introduced
Black rat Rattus rattus - Introduced

 

 

 

FWS 00233

 

 
Case 1:06-cv-00828-MBH Document 9-1 Filed 02/22/07 Page 51 of 54

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Figure 1.
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‘Proposed Line Islands Units,

myra Atoll and Kingman Reef

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Case 1:06-cv-00828-MBH

Document 9-1 Filed 02/22/07 Page 52 of 54

 

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LOCATION MAP

 
    
 
 
 
 

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LEGEND

Emergent land
v3 Shallow reef

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-MBH Document 9-1 Filed 02/22/07 Page 53 of 54

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United States Department of the Interior
_ FISH AND WILDLIFE SERVICE

 

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300 ALKA Moana Bourevaro, Room 3108
Box 50088
Honewuiu, Hawa S6ES5O
(608) S41-2749 © (AO8) 54 1-275S Fax

Lt. Colonel Ralph H. Graves

 

 

 

5 Ck with
Honolulu District Engineer OCT 3 me.
Buldne 330 of Engineers Qwi i] olex

Fort Shafter, HI 96858-5440

Dear Col. Graves:

I am writing you in the interest of good coordination regarding a project in which we share a mutual interest — |
. the cleanup of Palmyra Atoll. Enclosed please find a memorandum from the Director of the Fish and Wildlife
Service (Service), Jamie Clark, which gives her approval for the Service to begin detailed planing toward
(hopefully) acquisition of Palmyra Atoll] and Kingman Reef as units of the National Wildlife Re.uge System:
‘Our efforts to” date have been coordinated closely with Mr. Peter Savio, a local realtor who rpresents the
interests of the majority owners. We are also working with Mr. Chuck Cook of The Nature Conservancy (TNC), ~
and at this point foresee TNC actually tendering an offer for the property. If that is successful, the Service will
repay TNC in the future with dollars appropriated by Congress through the Land and Water Conservation Fund.

Please note that the third paragraph of Director Clark’s memorandum focuses on the contaminant issues at
Palmyra. The Service is eager to be of assistance to the Corps in any. way needed to carry out the cleanup in

. an expeditious and environmentally sensitive manner. We just completed an enormous cleanup effort at
Midway, where the Navy spent over $80 million in a three year effort. Working together with the Navy and its
contractors, the Service used good conservation practices to minimize losses to seabirds, and cooperated with
innovative techniques that made the cleanup go more smoothly and efficiently. One practice that really helped
for a better project at Midway was using petroleum-soaked soil to make asphalt, rather than disposing of the soil
"$n the landfill. On the natural resource side of the equation, black shade cloth was anchored to the ground where
future projects were planned, so that birds were discouraged from nesting in the project area. There were a
number of other special practices utilized for the Midway cleanup, and the Service would very much like to

share some of our Midway.experiences with you because we believe the cleanup efforts at Palmyra will benefit
from our experiences at Midway.

1 will be traveling to Palmyra on October 14, and will return on. October 28. Perhaps we can discuss your
cleanup plans either prior to or after my trip. Again, the Service is interested in full cooperation, including but
not limited to the issuance of any Migratory Bird Treaty Act permits necessary to facilitate the cleanup.

Thank you for your, r effort on n behalf ofa clean environment at Palmyra T hope to hear from you or your staff

soon .
Dn ae) he

ie P.Smith |
Pacific Islands Manager

Enclosure

FWS 00237

 
